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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION




GEORGE W. HARDY,



             Plaintiffs-Appellee,

vs.                                              Case No. CV 117-172


                                                 Appeal No. 21-13112-JJ
GEORGIA DEPARTMENT OF CORRECTIONS,
et al.,


             Defendants-Appellants.



                                  ORDER



       The order in the above-styled action having been dismissed by

the United States Court of Appeals for the Eleventh Circuit,

       IT IS HEREBY ORDERED that the mandate of the United States

Court of Appeals for the Eleventh Circuit is made the order of this

Court.


       SO ORDERED, this                 day of                      2021.




                                                    L/ CHIEF JUDGE
                                    UNITED/STATES DISTRICT COURT
                                    SOUTHliW DISTRICT OF GEORGIA
